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UNITED STATES BANKRUPTCY COURT FOR THE
SOUTHERN DISTRICT OF GEORGIA
SAVANNAH DIVISION

IN THE MATTER OF:
DONALD H. BAILEY
Debtor

CHAPTER 11
CASE NUMBER 07-41381-LWD
JUDGE LAMAR W. DAVIS, JR.

 

DONALD H. BAILEY,
Plaintiff, ADVERSARY PROCEEDING NO.
09-04002-LWD

vs.

HAKO-MED USA, INC., and
KAI HANSJURGENS,
Defendants.

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ORDER
The foregoing matter came on regularly to be heard before the Court
as to Defendants' Motion to Open the Default, both parties being
represented by counsel, and good cause having been shown, IT IS HEREBY
ORDERED AS FOLLOWS:
Defendants’ motion to open the default is granted and the opening

will not result in prejudice to plaintiff, and defendants’ answer is

allowed.

So Ordered on this day of , 2009.

 

JUDGE LAMAR W. DAVIS, JR.

UNITED STATES BANKRUPTCY COURT
Order epared

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